                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                                  NO: 5:05CR235

UNITED STATES OF AMERICA,                 )
          Plaintiff                       )
                                          )
vs.                                       )                               ORDER
                                          )
CHAD TYRONE KINCAID,                      )
            Defendant.                    )
                                          )
_________________________________________ )

       THIS MATTER IS BEFORE THE COURT upon the receipt of a letter from Chad Tyrone

Kincaid (the “Letter”) (Document No. 85). In the Letter, Mr. Kincaid asks to be released on bond.

       The record reflects that Mr. Kincaid is represented by appointed counsel, Michael Anthony

Kolb. It is the practice of this Court, when a defendant is represented by counsel, to rule on motions

filed only by counsel of record. Therefore, if Mr. Kincaid has any matters he wishes this Court to

consider, they must be submitted through his attorney. The Court notes Mr. Kincaid’s contentions

that Mr. Kolb has not communicated with Mr. Kincaid. As such, the Court will schedule an inquiry

into the status of counsel.

       IT IS, THEREFORE, ORDERED that Mr. Kincaid’s request is DENIED without prejudice

to Mr. Kincaid’s right to re-file the motions, if appropriate, through his attorney.




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                      Signed: September 28, 2005




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